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                 February 19, 2021 DEA Letter
                         EXHIBIT D
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                               555 W. JACKSON BLVD. SUITE 700, CHICAGO, IL 60661
                    OFC: 708.606.4386 WWW.EDWARDJOHNSONLAW.COM FAX: 708.526.9837


Linda Rannazzisi
Drug Enforcement Administration
Forfeiture Counsel
Asset Forfeiture Section
8701 Morrissette Drive
Springfield, VA 22152

February 19, 2021

Dear Forfeiture Council,

        We are contracting you on behalf of Mary S. Wilson. Ms. Wilson has a legally recognizable
claim to $33,783.00 U.S. Currency, SN: **** seized by the DEA on June 25, 2020, in Chicago,
IL. Asset ID: 20-DEA-664951. Ms. Wilson received notice of seizure of property and initiation of
administrative forfeiture proceedings on August 21, 2020. Ms. Wilson contacted our office and we
filed a petition for remission on September 18, 2020. This was a mistake, we intended to file a
sufficient claim for Ms. Wilson in order to preserve her right to contest the forfeiture of her
property. COVID-19 has disrupted the practice of law and we appreciate your cooperation with
the unprecedented delays encumbering the legal system.

        Pursuant to 18 U.S.C. § 983(a)(2)(B) a valid claim must be filed by the deadline indicated
in the original notice, which is no later than 35 days after the date of the notice letter. We
understand that this most recent claim is defective, however, we ask that you consider Ms.
Wilson s due process rights in contesting the forfeiture of her property. Our office was timely in
asserting Ms. Wilson s right, however, we filed the wrong form. Upon review of Ms. Wilson s
case materials we discovered this error, and now we wish to promptly correct this error and give
Ms. Wilson a fair opportunity to contest the forfeiture. We are contacting you on the day this error
was discovered.

       We understand that addressing the timeliness or content of a claim requires balancing
multiple competing interests. On the one hand, we acknowledge the importance of statutory
requirements, but we ask you to thoroughly consider Ms. Wilson s right to contest the
go ernmen s forfei re of her proper . Ms. Wilson should not be punished for this filing error.
Should your office reject the attached claim as defective, and issue an administrative forfeiture
declaration, we would appreciate receiving that information as soon as possible. In order to protect
Ms. Wilsons rights and interests, we will then have to seek federal district court intervention in
the form of a motion to set aside the administrative declaration under 18 U.S.C. § 983(e). Please
contact our office by phone or email if you have any questions. We appreciate your cooperation
regarding this matter.

Very truly yours,

Edward Johnson
Edward@edwardjohnsonlaw.com          Direct 708.606.4386



                                                                                        EXHIBIT D
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If any of this information changes, you are responsible for notifying the agency of the new information.




List each asset ID and asset description that you are claiming.
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Identify your interest in each of the assets you are claiming. If you are filing for multiple assets and the responses
are not the same for each asset, please print out multiple copies of this page to submit with the claim. If you have
documentation that supports your interest in the claimed assets (e.g., bill of sale, retail installment agreements,
contracts, titles or mortgages), please include copies of the documents with the submission of the claim.
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Complete this section for assets you have recovered all or a portion of your losses either via an insurance claim and/or
via some other source of recovery. If you have more recovery of loss information than may fit on this page, print out
multiple copies of this page to attach with the claim and indicate which assets apply to each page. If you have not
received any recovery of your losses, then leave this section blank.
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The following declaration must be completed by the claimant.
